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 8 Attorneys for Christina W. Lovato, Chapter 7 Trustee
 9                            UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
10
11
     In re                                               Lead Case No.: BK-19-50102-gs
12                                                       (Chapter 7)
13   DOUBLE JUMP, INC.
                                                         Substantively Consolidated with:
14              Debtor.
                                                          19-50130-gs    DC Solar Solutions, Inc.
15
                                                          19-50131-gs    DC Solar Distribution, Inc.
16    X Affects DC Solar Solutions, Inc.                  19-50135-gs    DC Solar Freedom, Inc.
      X Affects DC Solar Distribution, Inc.
17    X Affects DC Solar Freedom, Inc.                   MOTION FOR ORDER (1) APPROVING
      X Affects Double Jump, Inc.
18                                                       COMPROMISE AND SETTLEMENT
                                                         AGREEMENT WITH SUSTAINABLE
19                                                       CAPITAL FINANCE, INC.; AND (2) FOR
                                                         AWARD OF CONTINGENCY FEE
20
21                                                       Hearing Date: October 28, 2021
                                                         Hearing Time: 2:00 p.m.
22
23           Christina Lovato, the duly appointed and acting trustee (“Trustee”) for the substantively
24   consolidated chapter 7 estates of DC Solar Solutions, Inc. (“Solutions”), DC Solar Distribution,
25   Inc. (“Distribution”), DC Solar Freedom, Inc. (“Freedom,” and together with Solutions and
26   Distribution, “DC Solar”) and Double Jump, Inc. (“DJ,” and together with DC Solar, the
27   “Estate”), files this motion to approve the compromise and settlement with Sustainable Capital
28   Finance, Inc. (“Sustainable” or “Defendant”) pursuant to F.R.B.P. 9014 and 9019 and payment




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 1   of a contingency fee to special litigation counsel (“Motion”). The Motion is supported by the
 2   separately filed Declaration of Christina Lovato and is based upon the following discussion of
 3   facts and law.
 4                                       I.      Factual Background
 5            A. Procedural Background
 6                    Prepetition, DC Solar was engaged in a business related to manufacturing,
 7   marketing, selling, and leasing mobile solar generators.
 8                    However, certain of DC Solar’s insiders, including Jeff Carpoff and Paulette
 9   Carpoff (“Carpoffs”), were also perpetrating a Ponzi scheme (“Carpoff Ponzi Scheme”).
10                    On December 18, 2018, federal law enforcement raided DC Solar’s business
11   locations, effectively closing down DC Solar’s operations.
12                    In late January and early February 2019, the Debtors filed for chapter 11 relief
13   before this Court, commencing these bankruptcy cases (“Bankruptcy Cases”).
14                    On March 22, 2019, this Court converted the Bankruptcy Cases to cases under
15   chapter 7 and appointed the Trustee as chapter 7 trustee of the Debtors’ estates.1 The Estates have
16   been substantively consolidated.2
17            B. Trustee’s Claims
18                    On April 20, 2015, Solutions transferred $250,000 to the Defendant (“Transfer”).
19                    On January 19, 2021, the Trustee filed her complaint (“Complaint”) commencing
20   Adversary Case No. 21-5018-GS (Bankr. D. Nev.) against the Defendant (“Adversary”). On April
21   16, 2021, the Defendant filed its Answer asserting six affirmative defenses. [ECF No. 8].
22                    In her Complaint, the Trustee asserted that the Debtors neither received “value” nor
23   “reasonably equivalent value” in exchange for the Transfer. And thus, the Transfer is avoidable
24   and recoverable under Section 544 of the Code.
25                    In her Complaint, the Trustee alleged that Solutions made the Transfer to satisfy an
26   obligation of Jeff Carpoff.
27
28   1
         ECF Nos. 439 & 440.
     2
         ECF No. 2613.


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 1                  Prior to commencing the Adversary, the Trustee reviewed and considered
 2   numerous documents. These documents included those relating to (1) the Transfer and the
 3   Defendant; and (2) the Carpoff Ponzi Scheme more generally, and the Carpoffs’ efforts to loot DC
 4   Solar for their own personal benefit.
 5                  After commencing the Adversary, the Trustee communicated with the Defendant
 6   regarding the possibility of a consensual resolution, and the Parties’ differing positions of fact and
 7   law.
 8                  Following these settlement negotiations, and subject to this Court’s approval, the
 9   Trustee and the Target reached an agreement on the terms of a settlement of their claims and have
10   executed a Stipulation of Settlement (“Settlement Agreement”). A copy of the Settlement
11   Agreement is attached to the contemporaneously filed declaration of Christina Lovato. The Trustee
12   believes that the Settlement Agreement is in the best interests of the Debtors’ estates and should
13   be approved.
14                                        II.     Settlement Terms
15                  The key aspects of the Settlement Agreement, as more particularly described
16   therein, are the following:
17                 The Defendant shall pay the Estate $140,000 (“Settlement Payment”) within
                    fifteen days after the entry of a final non-appealable order approving this Settlement
18                  Agreement.
19
                   The Defendant shall have an allowed unsecured claim against the Estates in the
20                  amount of $140,000 pursuant to Section 502(h) of the Bankruptcy Code.
21
                   Subject to and except for their obligations in this Settlement Agreement, the Trustee
22                  and the Defendant shall each release and waive all claims against the other.
23                                        III.    Legal Discussion
24                  Fed. R. Bank. P. 9019(a) provides in relevant part that "[o]n motion ... and after
25   notice and a hearing, the court may approve a compromise or settlement.”
26                  In the Ninth Circuit, motions to approve a compromise and settlement agreement
27   are reviewed under the four criteria set forth in In re A&C Properties, Inc., 784 F. 2d 1377, 1381
28   (9th Cir. 1986), cert. denied, 479 U.S. 854 (1986). Those criteria are: (1) likelihood of success on



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 1   merits of the claims in the underlying litigation; (2) the complexity of the litigation involved, and
 2   the expense, inconvenience and delay necessarily attending it; (3) the difficulties, if any, to be
 3   encountered in the matter of collection; and (4) the paramount interest of the creditors and a proper
 4   deference to their reasonable views in the premises.
 5                  Compromises are favored under the Bankruptcy Code, and approval of a
 6   compromise rests in the sound discretion of the Court.3 The bankruptcy court is afforded wide
 7   latitude in approving compromise agreements which it determines to be fair, reasonable, and
 8   adequate.4 The court need not conduct an exhaustive investigation into the claim sought to be
 9   compromised.5
10                  The Trustee, in her informed business judgment, submits that approval of the
11   Settlement Agreement is in the best interests of the Debtors’ estates.6
12          A. The Settlement Should Be Approved
13                  Based upon these principles, the Trustee submits that the Settlement Agreement
14   falls well above the lowest point of the range of reasonableness and should be approved.
15                                  Probability of success in litigation
16                  This is a significant consideration that militates in favor of approval of the
17   Settlement Agreement.
18                  While the Trustee believes her potential claims are meritorious, all litigation
19   presents risks. Here, among other potential defenses, the Defendant may assert that the Transfer
20   benefitted DC Solar (and not simply the Carpoffs) by satisfying an obligation of DC Solar. The
21   Defendant agrees that in early 2015, the Defendant and others considered a potential transaction
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     3
24     Protective Committee for Independent Stockholders of TMT Trailer Ferry, Inc., v. Anderson, 390
     U.S. 414, 424 (1968).
25   4
       In re Woodson, 839 F.2d 610 (9th Cir. 1988).
     5
26     In re Walsh Construction, Inc., 699 F.2d 1325, 1328 (9th Cir. 1982).
     6
       See In re NII Holdings, Inc., 536 B.R. 61, 100 (Bankr. S.D.N.Y. 2015) (“Although a court may
27   not substitute the debtor’s judgment for its own and instead must undertake its own, independent,
     reasoned analysis of the claims at issue, a court may nonetheless take into account the debtor's
28   business judgment in recommending a settlement as well as the opinions of the debtor and the
     parties to the settlement.”) (citing cases, citation removed).


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 1   that involved the manufacture and sale of certain waste management units to be leased to third
 2   parties but asserts that it was DC Solar’s obligation to make this payment.7
 3                      If this were proven to be true, the Defendant would arguably have a complete
 4   defense to the Trustee’s claims given that, based on the Trustee’s investigation, the Trustee does
 5   not challenge that the Defendant received the Transfer in good faith.
 6               Complexity of litigation and attendant expense, inconvenience and delay
 7                      This is a significant consideration that also militates in favor of approval of the
 8   Settlement Agreement.
 9                      While the Trustee’s claims are typical claims litigated before this Court, the
10   Defendant did not file a proof of claim in these Bankruptcy Cases and thus has the right to a jury
11   trial. For this reason and others, while the Trustee’s special counsel is paid on a contingency-fee
12   basis, the Trustee’s prosecution of this Adversary would be accompanied by significant costs.
13   These costs include those necessary to probe the Carpoffs’ intent and knowledge, and CY 2015
14   agreement with Sustainable, which would include arranging for and attending prison-depositions.
15   These costs also potentially include an expert witness on the financial aspects of the Debtors’
16   operation, including that Carpoff perpetrated a Ponzi scheme through the Debtors. And a jury trial
17   is often accompanied by certain costs (e.g., travel, a jury consultant) and delay.
18                      The Settlement Agreement addresses these concerns. The parties avoid litigating
19   fact-specific claims with the associated expense and delay of doing so. Here, there is meaningful
20   benefit to the estates in resolving this matter pre-suit, without further risk, and before meaningful
21   expenses are incurred.
22                                                 Collectability
23                      Collectability is not an issue with the Defendant.
24                                       Paramount interest of creditors
25                      This is a significant consideration that militates in favor of approval of the
26   Settlement Agreement.
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28   7
         Answer, ¶24.



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 1                  The Settlement Agreement provides for a $140,000 payment, representing a
 2   material portion of the Transfer. This is a very good outcome when measured against potential
 3   defenses and litigation risks, as well as the costs and delay associated therewith. By resolving at
 4   this early stage of the Adversary, the Trustee is eliminating delay in monetizing her claims and
 5   efficiently administering the estates for the benefit of creditors. The settlement also enables the
 6   Trustee and her counsel to focus on other substantial litigation claims against other third parties in
 7   these Bankruptcy Cases, which is a meaningful consideration given the Trustee expects litigation
 8   recoveries to provide the bulk of the recoveries to creditors.
 9                  For all the reasons discussed in this Motion, the Settlement Agreement favorably
10   and immediately avoids litigation claims with meaningful risk. Thus, approval of the Settlement
11   Agreement is in the paramount interest of creditors.
12                                    IV.    Payment of Contingency Fee
13                  Meland Budwick, P.A. (“MB”), as special litigation counsel, is to be compensated
14   on a pure contingency fee basis of 25% of any recovery obtained.8 The Trustee seeks allowance
15   of, and authority to pay MB, a 25% contingency fee equal to $35,000 at the time the Trustee
16   receives the Settlement Payment, without the need for further Court Order.
17                  Pursuant to 11 U.S.C. § 330(a), the bankruptcy court reviews the services the
18   professional provided, and decides whether the requested compensation is reasonable. The Trustee
19   submits that the requested contingency fee satisfies this standard. 9
20                  First, 25% is a materially lower percentage than often charged by commercial
21   contingency counsel.10 Second, the Court pre-approved the contingency fee arrangement after
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23   8
       ECF Nos. 1490 and 1502.
     9
24     Special counsel: (1) performed high-quality work; (2) addressed somewhat challenging factual
     and legal questions; (3) employed significant skill; (4) obtained a timely result; (5) performed its
25   work efficiently; (6) drew upon a high level of capabilities and experience; and (7) was met with
26   significant opposition by sophisticated counsel.
     10
        See In re Private Asset Grp., Inc., 579 B.R. 534, 544-45 (Bankr. C.D. Cal. 2017) (“Outside of
27   bankruptcy, contingency fees are often 33 percent or, if there is an appeal, 40 percent.”); In re
     Pearlman, 2014 WL 1100223, *3 (Bankr. M.D. Fla. Mar. 20, 2014) (“Resting again on its
28   independent judgment, the Court finds the 35% contingency fee to be reasonable and in line with
     similar non-bankruptcy rates.”).


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 1   notice to all parties in interest. Third, given the limited assets of the estates when MB was retained,
 2   the contingency fee arrangement benefitted the estates by shifting material risk from the estates
 3   onto MB which immediately invested enormous resources investigating and pursuing claims for
 4   the Estate’s benefit.11 Fourth, the contingency fee arrangement ensures that MB’s compensation is
 5   merit-based and directly tied to performance and results. Fifth, the contingency fee arrangement
 6   applies to an array of Estate claims, and uniform application is in accord with that agreement.
 7   Sixth, MB has performed significant work (including formal and informal discovery) investigating
 8   and pursuing this and other claims in a high-quality and expeditious manner given the complexities
 9   of this Bankruptcy Case and despite the challenges imposed by COVID-19.
10                  Significantly, MB was charged with considering and investigating claims against
11   hundreds of potential targets. MB invested substantial resources to vet claims against potential
12   targets, ultimately recommending to the Trustee which claims are meritorious and which should
13   not be brought. As a result, MB’s efforts included determining the Trustee does not hold claims
14   against those potential targets. The contingency fee agreement does not provide for MB to be
15   compensated for these significant efforts that benefitted the Estate. Rather, these efforts are part of
16   the basket of services MB provides to the Trustee and the Estate.
17                  Finally, MB has provided services to assist in administrative aspects of these cases,
18   including the pursuit of substantive consolidation, review of certain significant claims, and matters
19   related to MSG sales. MB did not seek any compensation for that work, which was substantial and
20   benefitted the estate.
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        Fann Contracting, Inc. v. Garman Turner Gordon LLP, 620 B.R. 141, 147 (D. Nev. 2020); see
27   also, generally, In re Smart World Techs., LLC, 423 F.3d 166, 180 (2d Cir. 2005) (“Here, Smart
     World’s counsel was retained on a contingency basis, meaning that Smart World’s pursuit of its
28   adversary claims would have subjected the bankruptcy estate to no risk, while allowing the estate
     to reap any potential award.”).


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 1                                            V. Conclusion
 2                 Based upon the foregoing, the Trustee requests an order approving the Settlement
 3   Agreement as well as the contingency fee and granting such other and further relief as this Court
 4   deems just and proper.
 5          DATED: September 27, 2021.
 6                                               MELAND BUDWICK, P.A.
 7                                               /s/ Solomon B. Genet
                                                 Michael S. Budwick, Esq.
 8                                               Solomon B. Genet, Esq.
 9                                               Gil Ben-Ezra, Esq.
                                                 Attorneys for Christina W. Lovato, Trustee/Plaintiff
10
                                                 HARTMAN & HARTMAN
11
12                                               /s/ Jeffrey L. Hartman
                                                 Jeffrey L. Hartman, Esq.
13                                               Attorneys for Christina W. Lovato, Trustee/Plaintiff
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